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U.S. District Court for the Northern District Of Illinois
Amended Attorney Appearance Form

Case Title; Charles Till v. National General Gage Number: 21-CV-1256
Accident and Health Insurance

Company
An appearance is hereby filed by the undersigned as attorney for:
National Health Insurance Company

Attorney name (type or print): Dennis A. Berg
Firm: Pipal & Berg, LLP

Street address: 100 S. Wacker Drive, Suite 900
City/State/Zip: Chicago

Bar ID Number: 6200885 Telephone Number: 312-364-0080
(See item 3 in instructions)

Email Address: dberg@pipalberg.com

Are you acting as lead counsel in this case? Yes [ | No
Are you acting as local counsel in this case? [_] Yes No
Are you a member of the court's trial bar? Yes [ | No

If this case reaches trial, will you act as the trial attorney? Yes [ | No

If this is a criminal case, check your status. [ Retained Counsel

[ | Appointed Counsel
If appointed counsel, are you

[] Federal Defender
[ | CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on May 6, 2021

Attorney signature: | S/_Dennis A. Berg

(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
